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        UNITED STATES DISTRICT COURT
        EASTERN DISTRICT OF NEW YORK
        ------------------------------------------------- x
        UNITED STATES OF AMERICA

                                  -vs-
                                                                         Case No. 23-00082 (EK)
        CARLOS WATSON and
        OZY MEDIA, INC.

                                  Defendants.

        ------------------------------------------------- x



                            MEMORANDUM IN AID OF SENTENCING
                      ON BEHALF OF CARLOS WATSON AND OZY MEDIA, INC.



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         UNITED STATES DISTRICT COURT
         EASTERN DISTRICT OF NEW YORK
         ------------------------------------------------- x
         UNITED STATES OF AMERICA

                                   -vs-
                                                                          Case No. 23-00082 (EK)
         CARLOS WATSON and
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                             MEMORANDUM IN AID OF SENTENCING
                       ON BEHALF OF CARLOS WATSON AND OZY MEDIA, INC.


                                                 Preliminary Statement

         On July 16, 2024, a jury found Carlos Watson and OZY Media, Inc. (“OZY”) guilty of

  conspiracy to commit securities and wire fraud and aggravated identity theft. This Memorandum

  is submitted jointly on their behalf in aid of sentencing.

                                                       Introduction

         By Memorandum and Order dated September 13, 2024, the Court directed the parties to

  address two questions at sentencing: (1) “What proportion of the funds raised via the charged

  scheme flowed into the operations of Ozy Media’s business, versus flowing to Mr. Watson or

  other individuals;” and (2) “Which federal criminal cases from the last (roughly) fifteen years

  presented the most comparable sets of sentencing factors, and why?” Docket No. 313.

         The answer to the Court’s first question is that all the funds flowed into OZY’s

  operations except for Mr. Watson’s modest annual salary of $50,000. Mr. Watson marshalled

  his own and his family’s financial resources to build OZY into a flourishing and viable company




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  that published five newsletters, produced fourteen television shows, produced top ten podcasts,

  built a cutting-edge awards program, put on four “OZY Fest” festivals, developed more than 200

  revenue-generating partnerships with top-tier advertisers like Coca-Cola, Target, and Wal-Mart,

  and employed more than 1,000 employees and freelancers. Mr. Watson and his family

  consistently invested their own money each time OZY raised capital from investors. Mr. Watson

  deferred salary and secondary stock sales to free up the funds to hire more people, produce more

  programs, and grow the company’s infrastructure. In total, Mr. Watson and his family invested

  approximately $20 million in OZY, including cash, deferred salary, and deferred stock

  options. See Tr. at 3013-15.

         As for the Court’s second question, we have thus far found no comparable criminal case

  in which a defendant founded and nurtured a successful start-up like OZY to realize his family’s

  longstanding vision of empowering, educating, and lifting up others, all while putting millions of

  dollars into the company and taking virtually nothing out. The selflessness, civic-mindedness,

  and goals of Mr. Watson and OZY distinguish this case from the lion’s share of federal

  prosecutions for fraud, which are typically motivated by greed, excess, personal indulgence, or

  all of them. Indeed, either the Harvard- and Stanford Law-educated Mr. Watson is the world’s

  stupidest conman who somehow forgot to take any money out of the supposedly elaborate,

  multi-year, eight-figure fraud - - or he is an innocent man.

         The truth is that Mr. Watson and OZY are innocent. He is not a fraudster and OZY is not

  a criminal enterprise, as the government alleged. Mr. Watson and OZY did not engage in a

  conspiracy to commit securities fraud, conspiracy to commit wire fraud, or aggravated identity

  theft. The truth is that Mr. Watson, marshaling his own resources, his family’s financial support,

  and the contributions of hundreds of employees and contractors, built OZY into a real and viable




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  company whose achievements are laid out throughout this memorandum. OZY was an attractive

  company that competitors such as BuzzFeed tried multiple times to acquire, finally offering up to

  $300 million dollars.

         Mr. Watson was the visionary and entrepreneur, known as “Mister Outside.” He oversaw

  content, set the company’s strategic direction, brought in investors and advertisers, and stood up

  a corporate governance infrastructure by engaging reputable outside law firms, investment

  banks, and board members. Mr. Watson instilled a culture of being “blisteringly honest” at OZY

  (as a witness for the government, Tripti Thakur, wrote in her resignation email, which the

  government used as evidence against Mr. Watson). Fraudsters do not build real companies,

  establish outside control and accountability mechanisms, foster a culture of honesty, and invest

  their own money and their family’s money in a fraudulent enterprise.

         By contrast, the government’s cooperators, Samir Rao and Suzee Han, functioned as

  “Mister Inside” and “Miss Inside,” responsible for finance, tech, and operations. But as OZY

  grew quickly from a digital-only operation to a bustling five-part new media company, Mr. Rao

  and Ms. Han found themselves unable to keep up with OZY’s growth and lacked the skills to

  perform their functions competently. Some of those shortcuts Mr. Watson could see and advised

  Mr. Rao and Ms. Han to fix, such as pushing them to properly account for all of OZY’s revenue

  including missing contracts, strategic barter revenue and both gross and net revenue, or

  recommending that they bring in more senior talent and auditors to help. Mr. Watson hired

  outside consultants such as BRG to validate OZY’s audience and delivery metrics and a former

  Time Warner finance executive to vet OZY’s revenue numbers when he caught wind of Mr. Rao

  and Ms. Han’s potential deception.




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          OZY employees, including some of the government’s own witnesses, knew that Mr. Rao

  engaged in his deceptive acts alone. For example, when Ms. Thakur, who was looking to quit

  OZY anyway, resigned after discovering Mr. Rao’s forged OWN contract, Ms. Thakur made it

  clear that it was Mr. Rao who had engaged in deceit; Ms. Thakur emailed Mr. Rao’s wife

  underscoring her disappointment in Mr. Rao (not in Mr. Watson); and subsequently Ms. Thakur

  messaged Mr. Watson on LinkedIn multiple times to express her admiration for him — behavior

  inconsistent from a former employee who believes their boss directed them to commit a felony.

  Mr. Watson hired three top tier law firms at different points and four investment banks to ensure

  compliance, especially during Series C, D and E fundraising rounds. Mr. Watson also actively

  sought the participation and input of investors and board members. Indeed, OZY’s board met

  rough quarterly or semi-annually on a formal basis and there were weekly if not daily calls in

  between. Mr. Watson and the OZY team reviewed each aspect of OZY’s business with investors

  in detail.

          Despite Mr. Watson’s efforts to build a culture of compliance, Mr. Rao engaged in

  shortcuts and elaborate deceptions that were designed to elude detection. A non-exhaustive list

  of Mr. Rao criminal acts, to which he admitted, includes: doctoring OZY’s general ledger;

  orchestrating a juggling act to manage OZY’s loans with merchant lenders; fabricating

  documents and providing fake invoices and UCC termination emails to lenders; forging at least

  one contract as part of the BuzzFeed due diligence process; registering a fake website and

  creating multiple fake email personas to impersonate an OWN employee; and forging the

  signature of an OWN partner on a contract and sending the altered contract to Hanmi Bank.

          To address the government’s main contentions:




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         First, OZY’s revenue was not inflated and OZY’s investors did not rely on OZY’s

  revenue statements in valuing OZY. Mr. Watson had a working knowledge of OZY’s revenue

  numbers, but he did not receive or review weekly internal revenue numbers from Mr. Rao and

  Ms. Han, as multiple witnesses for the government and the defense testified. The most important

  and material items for OZY’s early stage investors - - and hence the greatest focus of OZY’s

  board and investor decks - - were OZY’s vision, content, diversified business model and key

  partnerships. Revenue, especially historical revenue, was simply not a central factor to OZY’s

  early-stage investors as it is not at other startups. And the sophisticated investors who sought to

  invest money in OZY proactively discounted OZY’s numbers in calculating their potential return

  on investment - - hence Goldman’s determination that even if OZY’s revenues were substantially

  discounted, Goldman would still expect to triple its money.

         In fact, Mr. Rao’s and Ms. Han’s accounting and bookkeeping errors had the effect of

  actually understating, rather than overstating, OZY’s revenue. Between 2016 and 2021, their

  pitch decks disclosed revenue of $182 million, when in fact according to analysis by Bland

  Waxman and later by TechCXO, OZY actually delivered $186 million in revenue. Mr. Rao and

  Ms. Han failed to account for key contracts from JP Morgan, Discover, Intuit and others; failed

  to account for millions in valuable strategic barter revenue; failed to track both gross and net

  revenue; and conflated cash and accrual accounting standards.

         Second, Mr. Watson did not engage in identity theft, and Goldman’s own post-call

  conduct shows that Mr. Rao’s impersonation call was not material to this investor. Mr. Rao

  admitted, in multiple contemporaneous confession letters and to the government’s own

  investigators, that he and he alone decided to impersonate the Google executive on the Goldman

  call. Mr. Watson immediately addressed Mr. Rao’s impersonation and, in point of fact, two




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  weeks after the impersonation call, Goldman itself resumed doing advertising business with OZY

  - - a sign that Goldman, which had been OZY’s longest term advertiser going back to 2016 and

  which counted a half-dozen senior partners as OZY’s investors, did not view OZY as a

  fraudulent company.

         Third, Mr. Watson had nothing to do with the fake contract that Mr. Rao delivered to

  Hanmi Bank and there is no evidence to the contrary. If the government possessed any evidence

  showing Mr. Watson’s involvement in the forged contract, it would have presented it at trial front

  and center.

         Fourth, Mr. Watson never falsely claimed to have interest from investors or institutions

  who were not actually interested in investing in OZY. Mr. Watson had signed term sheets or

  other writings from prominent investors indicating their bona fide interest in or prior investments

  in OZY, including Oprah Winfrey, Alex Rodriguez, and LiveNation.

         Fifth, Mr. Watson never claimed to have a $600 million takeover offer from Google. If

  he had such an offer, Antara - - which subjected its contemplated investment in OZY to a

  sophisticated due diligence process resulting in a 35+ page investment memo - - would have

  trumpeted such an offer in its investment memo, because Antara’s prospective investment in

  OZY would have immediately been more valuable. Antara’s investment memo did not mention

  any such offer. Nor was there any email, text message, or other communication from Mr. Watson

  touting a $600 million offer from Google.

         Sixth, Mr. Watson did not direct Mr. Rao or Ms. Han to alter OZY’s books, create fake

  contracts, engage in forgery, or misrepresent OZY’s numbers. The government never produced

  an email or text message in which Mr. Watson directed others to engage in fraud.




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           In short, Mr. Watson did not engage in fraud, intend fraud, or intend any investor to lose

  money.

           The truth is also that this prosecution should never have been brought. Titans of

  American commerce like Goldman Sachs, JPMorgan Chase, Google, and the other highly

  sophisticated investors alleged to have been victims were not truly defrauded by Mr. Watson, nor

  could any reasonable, properly instructed factfinder at a fair trial conclude that he intended to

  steal their money; the investors wanted in on the next big thing. This case bears no true

  resemblance to prosecutions for fraud to which it was compared at trial. To the contrary, this

  case was advanced by prosecutors chasing a conviction, spurred on by a series of sensationalist

  newspaper reports penned by a financially conflicted New York Times “journalist” who owned

  undisclosed, multi-million dollar stock options in one of OZY’s main business rivals, with a

  history of targeting Black and Brown people at disproportionate rates, motivated to magnify

  missteps out of any rational proportion, and willing to use prosecutorial power to conform facts

  to their theories - - not because any federal fraud cried out for criminal justice. As explained in

  the pending motion for a judgment of acquittal, not every alleged deceit proves that fraud is

  afoot. Even in litigation arising from Mr. Rao’s call with Goldman Sachs, purporting to serve as

  an independent reference for OZY (not itself a call pitching an investment), a district judge in

  Silicon Valley observed that “[S]ometimes there can be things that our eyebrows jump of our

  heads because it’s so shocking that it’s done, but it might actually not be a violation of the law.”

  Lifeline Legacy Holdings, Inc. v. OZY Media, et al., CV-21-07751-BLF (N.D. Cal. May 4, 2022)

  (Docket No. 55 at 5). At most, any true disputes between any investor and Mr. Watson and OZY

  could have been litigated in civil court or in the pending companion enforcement action initiated




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  by the Securities and Exchange Commission. Meanwhile, it is the government that has lost

  perspective and steadfastly refuses to take responsibility for itself.

         This Memorandum is accompanied by fifty-eight letters in Mr. Watson’s support from

  family, friends, former colleagues, and investors.1 They speak to a selfless man of vision whose

  defining trait is lifting up, mentoring, and helping others to lead their best lives. The

  observations of so many people from so many walks of life are at irreconcilable odds with the

  caricature of a fraudster pressed by the prosecutors.

  A.     OZY is rooted in a vision of community service and empowerment

         Mr. Watson is the second of four children born to church-going parents, both school

  teachers, of modest means. His oldest sister is a retired doctor. His younger sisters are,

  respectively, a clinical psychologist and a lawyer. Mr. Watson and his sisters are legacies of

  their parents’ focus on education, volunteering, and helping others. Mr. Watson graduated from

  Harvard College and Stanford University’s School of Law. Before founding OZY, Mr. Watson’s

  work included running Achieva College Prep Services (“Achieva”), founded by him and one of

  his sisters; serving as a television anchor and contributor to CNN and MSNBC; and working as

  a managing director at Goldman Sachs.

         OZY was formed in 2012 by Mr. Watson and his mother Rose after she was diagnosed

  with ultimately fatal metastatic kidney cancer. Their vision was to create a fresh and forward

  looking news and information source that would profile new trends, rising stars, and big ideas - -

  what they described as “the new and the next” - - while empowering and inspiring minority

  communities. OZY ultimately developed premium newsletters, top tier television shows for




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    The letters are arranged alphabetically by the correspondents’ last names. Personal identifying
  information has been redacted and is available upon request.


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PBS, Hulu, Amazon and others; leading podcasts for Apple, iHeart, Spotify and others; and

four world class “OZY Fest” festivals and leading award programs. OZY won more than 200

clients including Coca Cola, Target, and Walmart. OZY won an Emmy award, and two OZY

series were submitted for Pulitzer Prize consideration. Mr. Watson was a visionary who

worked tirelessly at work and in the community to give voice to his mother’s vision and

values.

          Lamar Bunts met Mr. Watson at Harvard and has been his close friend for thirty years.

Mr. Bunts writes that Mr. Watson’s “actions reflect values instilled by his late mother, Rose, who

taught him the importance of loyalty, love, and standing by those you care about.” Nancy King

met and worked for Mr. Watson at Achieva and observes that Carlos “was raised with the

understanding that education transforms lives and entire communities, and it was clear that he

was determined to do his part to advance that mission”:

          I never had the chance to meet Rose Watson, but I’d certainly heard about her: It was
          impossible for Carlos to mention her without his face breaking into an enormous grin.
          She was a force, unflagging in her devotion to her children and in her belief that they
          could and would do great things. How he loved her, and I know losing her was
          unspeakably hard on Carlos, his sisters, and their father.


          Mr. Bunts writes that “[h]is actions reflect values and instilled by his late mother, Rose,

who taught him the importance of loyalty, love, and standing by those you care about.” Anthony

Hamilton, a barber and poet who has known Mr. Watson for twenty-five years, writes:

          Despite his impressive achievements, including being a political analyst on CNN and
          Harvard graduate, Carlos never presented himself with arrogance. Instead, he engaged
          me in conversations that reflected his genuine interest in my experiences and perspective.
          Carlos’s humility and ability connect with people from all walks of life have left an
          indelible mark on me.
          Shamir J. Simmons met Mr. Watson in Mr. Hamilton’s barber shop. Mr. Simmons’s

mother had succumbed to drug abuse and died in prison. To Mr. Simmons, “the idea of family



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[was] an interesting foreign concept like space travel or deep sea exploration.” Mr. Watson

“was curious about not only [Mr. Simmons’s] opinions on things but a few others as well who

came from different walks of life.” Mr. Watson invited Mr. Simmons to help care for Mr.

Watson’s mother even though she may not have really needed his help. It was Mr. Watson’s

way of helping Mr. Simmons:

     As Carlos and I would go to church with his mom and go to eat and run errands with her
     and just sit and conversate with her she didn’t understand why I wasn’t in school or
     helping more people or inspiring others . . . . Being around him and his family allowed
     me to find joy in helping others and servicing those who need it . . . . I do the same thing
     now . . . I feel blessed that I have met Carlos and his family. With the birth of my first
     and only child, a son, [Carlos] and his mother changed the trajectory of not only me but
     also my entire family and lineage going forward.

       Mr. Watson’s cousin, Kyla Thomas, says that he “grew up without much monetary

resource[s], but he was surrounded by love and encouraged to be a person of character, a person

in relationship with God, and to reach for the stars.” Another cousin, Thomas Watson, remarks:

       He's the kind of person who wants to know what you're up to and if there is a way he can
       help you. He is often generous when there is a need, but also when there isn't a clear
       need, just because, as an active unexpected kindness. When a family members’ child was
       in college and they didn't have enough money to pay for the tuition, he paid it - that
       simple. I doubt he was ever paid back for that, I've never heard him mention it; I doubt
       he knows that I know about it. It is not his style to brag about the things he's done for
       others.

       When he was in law school, he cofounded an organization to help underperforming
       neighborhoods to enter the college application process, and to successfully attend and
       graduate from college. He would attend his weekends with his kids, tutoring and
       assisting them, encouraging them to dream big dreams for themselves.

       He works harder than anyone I know, his ethic and dedication are unsurpassed.
Thomas Watson’s remarks are echoed by Otto Zequeira (“Carlos slept only 4 hours a day. His

hard work and belief in what he was building was admirable.”); LaMar Bunts (“Carlos’s impact

on those around him is undeniable. His dedication to the community, his unwavering support for

his friends and family, and his commitment to creating positive change through his work




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exemplify the values that have guided his life.”); Roxana Shershin (“He is a self starter and a

visionary possessing the ability to see ideas as much larger than . . . I think most people.”);

Carmen Yulin Cruz Soto (“[H]is ambition stems from a deep rooted belief in the goodness of

people. He dreams big without forgetting what centers him and he never departs from his roots .

. . . Carlos’s enthusiasm for life and his willingness to uplift others is contagious.”)

       Mr. Watson has lived his mother’s legacy of selflessness and service to others. Rodney

Taylor met Mr. Watson at Harvard when they were eighteen years old. Mr. Taylor recalls Mr.

Watson as “someone whose leadership and vision shown brightly, even during our earliest days

in college”:

       As the president of the freshman Black table, he played a transformative role in fostering
       community and uplifting his peers, significantly improving our collective college
       experience. It was evident early on the Carlos had a rare and genuine talent for inspiring
       those around them to aim higher, dream bigger, and unite as a community.

       [I] have witnessed his commitment to creating opportunities for the underrepresented,
       launching initiatives that have profoundly impacted young high school students aspiring
       to attend college. Carlos’s entrepreneurial spirit drove him to create platforms and
       businesses that were uniquely mission-driven, focusing on a societal advancement. I
       have vivid memories of Carlos envisioning and bringing to life ideas that seemed almost
       improbable at first. For instance, as we traveled abroad, Carlos shared his dream of
       interviewing emerging stars and delving into the essence of their passion and vision.
       What followed was nothing short of extraordinary. He brought that vision to life and
       engaged with figures like Barack Obama, John Legend, and Arnold Schwarzenegger
       before their meteoric rise to fame, capturing insights no one else could.
See Letter of Tericke Blanchard (“I want to emphasize the positive impact he has had, not just on

me, but on many members of our college community. I never could have imagined he would

find himself in this situation, as his character has always been one of kindness and support.”);

Letter of Sophia Victor (“Carlos has a rare and remarkable gift - - he sees the potential in people

even before they see it in themselves. His ability to bring individuals from all walks of life

together, bridging backgrounds, beliefs, and cultures, fosters genuine dialogue and meaningful



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change.”) Letter of David Victor (“Carlos Watson has consistently used his platform to inspire

positive change, advocate for underrepresented communities, and create opportunities for

others.”); Letter of Patrice Johnson Chevannes (“I have always known the Watson family to

stand for honesty, compassion, and a dedication to doing what is right.”); Letter of Troy

Christmas (“Carlos’s ability to think ahead and build innovative programs that serve the common

good has always impressed me. Where others might see obstacles, Carlos sees opportunity . . . .

Carlos’s creativity and determination to merge business with social responsibility has been a

recurring theme throughout his career.”).

        Steven Schillaci, a television producer, “first met Carlos Watson after the murder of

George Floyd when Carlos and Ozy produced the Townhall television event for A&E network,

titled ‘Race in America: A Town Hall meeting.’ It was here I learned what a socially conscious

tireless advocate for justice Carlos truly is”:

        He assembled the diverse group of professionals, celebrities, police chiefs, community
        leaders and civilians to start the conversation on Race Relations and how we can all do
        better. . . . .

        I've worked with countless host and producers, but none whom I have respected or
        enjoyed working with more than Carlos. Furthermore, many publicists, celebrities and
        their managers would write me after the interview stating what a great experience it was
        for them to appear on Carlos' show and what a gracious and intelligent interviewer he
        was. . . .

        Jason Cahilly, is co-founder and chief executive officer of a private investing and

consulting firm and previously served as chief strategic and financial officer for the National

Basketball Association. Mr. Cahilly met Mr. Watson when they both worked at Goldman Sachs:

        Despite being exceptionally smart and having a very impressive business pedigree
        coming into Goldman Sachs, he was unfailingly humble and gracious and 100% of my
        and others interactions with him. He developed a quick reputation for clearly caring about
        others, and as a standard operating procedure he would inquire sincerely about how



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       others were doing not just professionally but also personally it struck me how well he
       truly listened to others and, almost always, would find some way to leave the other
       person with a sense of positivity, optimism, and that they mattered.
Mr. Cahilly reports that he’s “spoken to Carlos multiple times since the charges were brought

(most recently on November 17, 2024) and, characteristically, each of our conversations has

started with him genuinely inquiring about how I, my wife and each of my kids are doing, and

whether there's anything he can do for us. It's a small point perhaps, but I think it speaks to

Carlos core goodness and character conduct himself this way even under the current extreme

circumstances.” Mr. Cahilly elaborates:

       One of Carlos’ most pronounced traits is this radical generosity, extrinsic focus and
       selflessness. He is persistently externally-focused and unfailingly generous with his time
       and attention toward all others. He unusually perceives the needs of others and
       proactively spends significant time and energy to improve others’ situations.


       According to Angela Spears, “His vision for OZY was driven by the desire to give voice

to underrepresented perspectives, fostering conversations that are often overlooked by

mainstream media . . . .To Carlos, OZY was never just a business; it was a platform to drive

change and connect people. Through OZY and his other business endeavors, Carlos has hired

individuals from diverse backgrounds, providing career opportunities to people who might

otherwise face barriers in the media industry.”

       Jennifer Lopez operates a successful taxi business in Freeport, New York. She praises

Mr. Watson’s vision of OZY as a means to provide “platform to the unheard and challenging us

to think critically . . . offer[ing] the kind of hope that can't be easily measured or replaced”:

       I was honored to meet Carlos Watson in 2018, when I was selected to participate in PBS's
       Taking on America program, where he brought together individuals from diverse
       backgrounds to discuss the challenges faced by the Latino community and other under
       representative groups across America. As we met several times in an intimate focus
       group before the taping of the show, I got to know Carlos and his diplomacy. This
       experience allowed me to share my own story as a Latina and connect with people from


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      different walks of life in a respectful and open form. Carlos's work through Taking on
      America was just one example of how he has dedicated himself to fostering
      understanding and loving voices that are often unheard. . . . .

      Through his media company, OZY, Carlos pushed the boundaries by covering
      unconventional topics in a way that was accessible and engaged to all readers. His vision
      was bold, but his demeanor was always humble - - never flashy, never seeking attention
      to himself. Carlos’s show, the Carlos Watson show, symbolized hope for a more
      inclusive and diverse America. He invited challenging, important conversations with a
      range of people, often highlighting voices and perspectives that are overlooked in
      mainstream media. This commitment to providing a platform for these voices as a rare
      quality, one that is invaluable in today's polarized world. Carlos is a modern day
      abolitionist, working tirelessly for change, but always through a diplomatic and
      constructive approach. His mission has always been to foster empathy, understanding,
      and unity, something American needs now more than ever.
 See Letter of Delores Eberhart (“Carlos co-founded Ozy Media, aiming to offer diverse

 perspectives in news and culture. His vision was to create a platform that highlighted

 underrepresented voices and stories, reflecting his commitment to inclusivity and broadening

 public discourse.”); Letter of Steven Schillaci (“The ability to spark meaningful dialogue and

 serve as a bridge between diverse groups is an invaluable skill, especially in today’s polarized

 world. Carlos possesses a rare talent for creating spaces where tough but necessary

 conversations can happen with respect, empathy, and insight.”).

      Charlynn White worked for OZY as editorial traffic manager. She witnessed firsthand

 how he ran the company and responded to the charges in this case:

      When [Carlos] was arrested in February of 2023, it not only impacted him and his family
      - - who I had grown close to - - but also the entire OZY team, which was making a
      remarkable comeback. The company was rebuilding crucial relationships with investors
      and, once again, producing groundbreaking content.
      Carlos is a visionary with a strong commitment to amplifying the voices of marginalized
      groups. His dedication to diversity was evident in his focus on hiring people of color and
      women, which set OZY apart in the media landscape. . . .
      Carlos's genuine concern for others and his ability to uplift those around him truly
      exemplify the compassionate individual I have come to know. . . .




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       Despite the overwhelming weight of these events, Carlos continues to demonstrate a
       remarkable level of empathy and concern for others, prioritizing their well-being above
       his own.
See Letter of Ricky Spears (“I regularly reference Carlos's work with OZY Media in my classes

as a powerful example of resilience and entrepreneurship. Carlos built OZY from the ground up

without the traditional resources many entrepreneurs have, creating a platform that brought new,

diverse perspectives to the forefront . . . Carlos’s ability to expand his company’s reach and

establish a media platform that amplifies marginalized voices has been an inspiring example to

my students.”).

       Mr. Watson’s sister Carolyn writes as follows:

       When Carlos envisioned OZY media, his mission was clear: to elevate underrepresented
       voices and bring bold, diverse perspectives to the forefront of media. Watching OZY
       grow from an idea at our mother's kitchen table to a global platform producing award-
       winning content was a testament to Carlos's vision and perseverance.


B.     Mr. Watson’s Widely Respected Role as a Mentor

       Mr. Watson is widely respected for mentoring others, instinctively reaching out to people

he meets in a variety of contexts to encourage and inspire. Dona Brathwaite has been a teacher

in New York City’s public schools for twenty years:

       I first met Carlos in 2007 when he volunteered as a guest speaker for the Upward Bound
       program, where I was working as a teacher supporting youth struggling academically.
       Despite his prestigious position at MSNBC at the time, Carlos made it a priority to
       volunteer his time, demonstrating his dedication to uplifting others. His sincerity,
       humility, and commitment to service left an indelible mark on both my students and me.
       Carlos and I have remained in contact over the years, and I have personally witnessed his
       strong commitment to serving his community without any personal gain. He possesses a
       remarkable ability to connect with people, meeting them exactly where they are, with
       genuine respect and empathy. When he spoke to my students, he openly shared personal
       stories of perseverance that resonated deeply with them, including his experiences in
       summer school. Carlos lit up the room and his message that setbacks (like having to
       attend summer school each summer during his formative years) can serve as stepping


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       stones reframed how they, and I, viewed our challenges. Carlos has a way of making
       each individual feel seen, heard, and value. Carlos's sincerity makes a uniquely effective
       mentor. His approach ability allows young people to not only look up to him but also
       relate to him on a personal level.
       Caroline Champagne shares a similar recollection:
       In 2007, he traveled from New York City to speak at my 8th-grade graduation ceremony
       at Harford Day School in Bel Air, Maryland. Despite the distance and the relatively
       small size of our community, Carlos graciously made time to share his insights,
       experiences, and encouragement with us. His words resonated deeply with everyone in
       attendance and left an indelible mark on our young minds. . . .
       His willingness to invest his time and energy in supporting a small group of students in
       the “middle of nowhere,” as we affectionately called it, reflects his extraordinary
       character and commitment to giving back.
See Letter of Amy Toner (“He has mentored many people with all sorts of challenges, giving his

time in a way that most people would not.”); Letter of Rodney Taylor (“Carlos has consistently

uplifted those around him, myself included. His resilience, optimism, and unwavering belief in

the potential of others have left a profound impact on my life and countless others.”).

       Tericke Blanchard, Director of International Policy at AbbVie, met Mr. Watson at

Harvard, where

       Carlos was known for his friendliness and ability to engage others. He created an
       inclusive atmosphere that encouraged connection and collaboration. . . . It was heartening
       to see that he continued to foster a sense of community, bringing people together for
       meaningful discussions and fellowship.
 See Letter of Shanti Perkins (“Carlos has proven to be a man of extraordinary empathy and

 social consciousness. As an upperclassman at Harvard, he took it upon himself to mentor and

 engage younger students like me, demonstrating kindness and generosity that exceeded mere

 social obligation . . . .Carlos’s dedication to social change, inclusion, and dialogue has had a

 lasting impact on countless individuals and communities.”).




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        Otto Zequeira met Mr. Watson in elementary school and have been close friends for 48

  years. For Mr. Zequeira, “Carlos was a source of strength and support for me as I was the first

  person from my family to go away to college”:

        Carlos also mentored a low-income, African-American student from a local high school
        and showed him our campus and dorm. This commitment to give voice to those who
        lack it surely influenced my becoming a teacher and union representative. . . .I would
        not be the same person if I had not met him and shared so much time together.
See Letter of Dr. Karen A. Johnson (“I have witnessed his evolution into a leader whose work

has had a significant societal impact, particularly in promoting social justice and amplifying

marginalized voices.”); Letter of Dr. Nehemiah Mabry (“Carlos has been a pioneer and a source

of hope, someone who has shown kindness, generosity, and a genuine commitment to supporting

others.”).

        Troy Christmas met Mr. Watson at Stanford Law School:

        From the earliest days of our friendship, Carlos distinguished himself as someone with an
        unwavering sense of purpose. While many of us were focused primarily on the rigors of
        law school, Carlos always made time to give back to the community. His passion for
        mentoring and empowering young people was evident even then.
Carlos has a long history of supporting those in need, whether through his mentoring programs

or by offering career guidance to countless young professionals navigating their way in

competitive industries. See Letter of Patrice Johnson Chevannes (“[I]n my work with inner-city

youth, I see firsthand how critical it is for them to have positive role models and advocates.

Carlos’s platform has given a voice to these inner-city youth, particularly Black and other

minoritized youth in the U.S. who often feel unseen and unheard . . . . . His platform has

provided hope and inspiration, helping these youth believe in their potential and understand that

their voices matter.”); Letter of Kyla Thomas (“There are a lot of lives that he has touched for the

better. He is a person who believes strongly in hope, and is always willing to brainstorm or


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wonder with you about what is possible.”); Letter of Nina Benton (“He is a genuine person who

goes out of his way to help others. Not only did he graciously agree, he flew a red eye, and

somehow managed to make it to Bel Air, MD in time to talk to a small group of young 8th

graders about how the world, while it can seem daunting, is changing in so many ways, ways that

will make all of our lives better. I realize this is an anecdote that can seem trivial but I knew that

day that a man of great character, integrity and compassion stood before these young children

and demonstrated a deep sense of caring and the importance of showing up for friends and

strangers.”); Letter of Tiffany Madera (“A couple of years ago, I was dreaming big for a new film

project. I needed help to reach past a local framework and expand my audience and tell my story.

I asked Carlos if Ozy Media would be willing to profile me and give me a global opportunity.

His answer was a resounding yes! I will never forget what that felt like, because having a hand

reach over to pull you up is an extraordinary blessing. Carlos was opening a pathway to success

for me and his generosity was a gift.”); Letter of Carlos Watson Sr. (“Carlos is also a role model

and mentor to many, inspiring young people around the world with his visionary ideas and

commitment to building a better society. His innovation and tireless efforts have created jobs,

driven forward-thinking conversations, and fostered opportunities for others to grow and thrive.

His work and his heart have always been focused on the greater good.”); Letter of Jeremy Winter

Delaplane (“Carlos is a positive force in every community I have experienced. He built dreams,

jobs, ideas, his impact on the world is significantly and overwhelmingly positive.”).

C.     Mr. Watson’s Continuing Devotion to Family, Friends, and the Community

       Amy Troner, an environmental crime officer in the United Kingdom, has known Mr.

Watson and his family for forty years. She traveled to Brooklyn to attend parts of the trial: “As I

am sure you have seen over these many months, Carlos has a very strong and loving support



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system. Family, friends and even his investors have been there during the trial. We were also

there for him both financially and emotionally during bail proceedings because we all know who

Carlos really is as a person.” See Letter of Angela Spears (“ Carlos’s commitment to his family

is genuine, rooted in values instilled by his late mother, Rose, and it reflects his sense of loyalty

and responsibility.”).

       Mr. Watson’s close relationships with his family have been his beacon through the ups

and downs over the years. His cousin Kwame Thomas explains:

       We come from an unusual[,] phenomenal family. Our grandparents were college
       graduates, a rare accomplishment in the 1920s for many, but especially Black Americans.
       Believing in and deeply wanting to enrich the community, our grandmother became a
       teacher and our grandfather, pastor. After our grandfather passed away in 1945, our
       grandmother, through immense strength and unwavering family support, raised their
       seven children, ensuring that each one earned a college degree. They went on to have 19
       children - - my cousins and I, and stealing us the value of showing love, giving of
       yourself to uplift another, gaining knowledge and the value of community, and I am
       proud to say that Carlos exemplifies those values and everything he does.
       For most of the past decades, Mr. Watson has cared for his now 90 year-old father, Carlos

Watson Sr., who mostly lived with Mr. Watson before Mr. Watson began devoting time to his

criminal defense. The sentiments of a father might seem biased but they are echoed by so many

other correspondents:

       I was blessed to share nearly 50 years of marriage with my late wife, Dr. Rose T Watson,
       and together we raised four extraordinary children, with Carlos as our only son. His
       integrity, intellect, and commitment to uplifting others have been constant throughout his
       life.

       Carlos has always been an exceptional individual. As a young boy, I called him
       “Senator” because of his curiosity, leadership, and passion for learning. These early traits
       blossomed into extraordinary accomplishments. Carlos graduated from Harvard
       University and earned a logically from Stanford law school, achievements that reflect not
       only his intellect but also his relentless work ethic and determination to excel.

       He later founded Ozy, where his innovative leadership built a platform that celebrates
       diversity, fosters understanding, and inspires action. His work has created opportunities


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       for many and left an indelible mark on media and education.

       Family is at the heart of Carlos life. During my late wife's battle with late stage kidney
       cancer, Carlos worked tirelessly to extend life by over three years, giving our family
       precious time together. His love and dedication during that period exemplify the
       extraordinary son, brother, and caregiver he has always been. Beyond his immediate
       family, Carlos has supported extended relatives, such as my nephew Shelton, ensuring
       that opportunities and encouragement were always within reach.
Mr. Watson’s sister Beverly knows him as “a trailblazer, dedicated to uplifting others and

amplifying voices often left unheard.” She invested $1.1 million in OZY. She knows Mr.

Watson as her employer, her brother, and a father figure to her three year-old son, named after

Mr. Watson:

       As a former employee of OZY, I witnessed Carlos’ relentless work ethic, integrity, and
       belief in the power of storytelling to create meaningful change. He built a culture that
       celebrated creativity and excellence, mentoring countless individuals in creating
       opportunities for reporters, freelancers, and interns from all walks of life.

       As his sister, I have experienced Carlos' profound generosity and unwavering
       commitment to family. Whether it's supporting our livelihood and underwriting the daily
       expenses of our parents, aunts, uncles, cousins and a multitude of community members or
       whether it's supporting dreams and investing time, energy, resources to propel others in
       their own journeys. His care and encouragement reflected the depth of his character - - a
       man who consistently puts others before himself and inspires those around him to aim
       higher.

       Carlos vision for OZY has always been about more than media; it is about building
       bridges, fostering understanding, and empowering communities. In a time when the
       world is more divided than ever, OZY’s mission is needed now more than ever. I believe
       in my brother. I have witnessed the positive force for good and the profound impact he
       and OZY has had and can continue to have on the world. . . .

       Carlos is a wonderful father figure to my 3-year-old son and his love, example and
       encouragement play a vital role for him, as I am a single Mother. Carlos has given so
       much of himself to elevate others, and I remain confident in the positive contributions he
       will continue to make it given the opportunity.
See Letter of Carolyn Watson (“From a young age, Carlos demonstrated the qualities that make

him the natural leader he is today. I recall his generosity and encouragement with our family - -

rewarding my younger sister and me with his own lunch money when we excelled in school, and



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instilling in us a sense of value and motivation. These early acts of selflessness and leadership

foreshadowed the incredible drive he would bring to his professional endeavors.”).

       Mr. Watson’s aunt, Jeannette Shegog, has “watched Carlos grow from a bright and

curious child into a compassionate and responsible man. From a young age, he demonstrated

remarkable intelligence and a unique way of thinking. He approached life with curiosity, always

seeking to understand the world and help those around him”:

       His love for family has always been at the center of his life, instilled by his mother, my
       sister Rose. Carlos’s upbringing was rooted in faith, love, and a sense of responsibility to
       family and community—values he has carried forward throughout his life. . . .
       In recent years, after his mother’s passing, Carlos has stepped into the role of family
       caretaker, providing essential support to his aging father and assisting his sisters. His
       commitment to family has never wavered, even in difficult times.
See Letter of Gary Thomas (“Carlos comes from a family that places God first. They believe in

God, family and community.”).

D.     Imprisonment of Mr. Watson Would Unduly Punish His Community

       Theoretical benefits of custody should yield to the actual harm to the community if Mr.

Watson is removed from it. “Incarcerating Carlos for an inordinate amount of time would not

only be a loss to his family and friends but also to the communities he has touched so deeply.”

Letter of Anthony Hamilton. As Kwane Thomas puts it:

       It is deeply concerning to see him facing significant time in jail. Carlos has always acted
       with a sincere heart, striving to create opportunities for himself and others. Locking him
       away would not only affect our family and friends, but also deprive the community of the
       positive influence he provides. . . .
       Please allow Carlos to continue contributing to society and helping others, rather than
       isolating him from the very community he has worked so hard to support. We love him
       and need him.




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 See Letter of Dr. Karen A. Johnson (“Carlos’s absence from public life would not only affect

 those of us who work alongside him in advancing social justice, but it would also be a loss to

 the many communities that rely on his voice for representation and support. . . . The

 importance of this cannot be overstated, especially for individuals like Carlos, whose impact on

 society has been both far-reaching and transformative.”); Letter of David Victor (“His

 contributions to society are invaluable, and his ability to continue this work would benefit

 many.”); Letter of Troy Christmas (“I firmly believe that incarceration would not serve the

 greater good in Carlos’s case. His talents, passion, and commitment to making a positive

 impact are far too valuable to be lost. Carlos has the potential to continue contributing to

 society in meaningful ways - - through mentorship, advocacy, and community-building

 initiatives.”); Letter of Lois Chaney-Smith (“I know Carlos feels deep remorse for the

 circumstances that led to this point, and I am confident he has learned from this experience. It

 has already changed him profoundly and will propel him forward in ways that will benefit

 society and reflect the values that shaped him.”); Letter of Patrice Johnson Chevannes (“His

 absence would be a significant loss not only for his company or family, but for the youth and

 marginalized communities who depend on the representation he provides.”); Letter of David

 Price (“His talents and dedication are too valuable to be lost.”).

      For Nancy King, “[i]t is close to impossible for me to imagine Carlos behind bars”:
      My mother was a longtime prisoners’ advocate at Rikers Island (she started the Rikers
      Review, an inmate-written and produced literary magazine, and Fresh Start, a widely
      praised culinary training and placement program for inmates), and I visited the jail with
      her on occasion. When I think of Carlos, I think of his unbounded curiosity - - about
      politics, sports (especially basketball), and everything in between - - his generosity, his
      quick and capacious mind, and how he delights in other people’s success. . . .I believe
      that the Carlos I know has so much more good work to do and to offer his community.




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See Letter of Fred Harman (“The thought of Carlos being incarcerated for an extended period of

time seems to not only be disproportionately punitive relative to the alleged offense but would

also incapacitate a life that has proven to be so capable of giving back to friends, family and the

community.”).

E.     A criminal penalty for OZY Media Inc. is unwarranted

       The letters quoted throughout illustrate that no penalty is warranted for OZY Media Inc. -

- an entity that should never have been charged, let alone prosecuted. It is incredibly rare for a

company to be indicted; the corporate entities were not indicted in the spectacular frauds that

brought down Theranos, FTX, Harvey Weinstein’s companies, and Enron. And yet OZY - - a

Black-owned business in California which had a very real product with a very real client base

and won very real awards - - found itself indicted on the other side of the country. To be clear,

OZY had no connection to the Eastern District of New York. And to be clear, counsel at trial

argued - - and the evidence, in the form of Mr. Rao’s confession letters and communications

between Mr. Rao and Ms. Han established - - that Mr. Rao and Ms. Han were acting outside the

scope of their employment and were not acting on behalf of OZY.

       OZY attracted sophisticated investors such as Kosmo Kalliarekos, a graduate of Harvard

Business School (High Distinction) and the Wharton School (Magna Cum Laude) who is now a

partner at EQT and who testified in this trial, recounts in his letter that “Under Carlos’s guidance,

OZY grew into a groundbreaking media company with remarkable achievements[, including]:

An Emmy Award for its programming; A global audience of more than 50 million people across

digital platforms, TV, podcasts, and live events; More than 200 clients . . . ; Over $250 million in

booked gross revenue over its lifetime; . . . [O]ne of the most richly diverse, inclusive, and

talented teams in media, with more than 1,000 full-time and freelance staff - - 90% of whom


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were women and people of color.” Another supposed victim, angel investor Damian Rouson,

Ph.D., invested more than $175,000 in OZY as a “form of social-impact investing: every

business in which I invested was founded by a person of color, including women of color.” Mr.

Rouson laments that with OZY having been convicted, “I have lost the one media company that I

counted on for introducing me to an African author, an American biracial woman biotech

entrepreneur, a black physicist, and other ‘new and next’ thinkers and achievers across so many

walks of life.”

F.     The Guidelines are not reliable in fashioning a proper sentence

       Last month, Judge Hellerstein sentenced Sung Kook (“Bill”) Hwang to a term of

imprisonment of 18 years for a fraud that cost banks more than $10 billion, noting that “the

amount of losses that were caused by [Hwang’s] conduct are larger than any other losses I have

dealt with.” See United States v. Hwang, 22-CR-240 (AKH);“Archegos’ Bill Hwang sentencing

to 18 years in prison for massive US fraud,” www.reuters.com, Nov 20, 2024. In

recommending a term of imprisonment of 21 years for Hwang (less than the PSR’s

recommended 22 years here), the government described Hwang’s case as “among a rare class of

cases that truly could be described as a national calamity.” And yet despite the government’s

view of loss in Hwang of $10 billion, and the PSR’s view of purported loss of $65 million in the

instant case (0.65% of $10 billion), the PSR recommends a sentence for Mr. Watson even

greater than recommended by the government and imposed by Judge Hellerstein in Hwang.

(Defendants contest the $65 million loss amount - - actual or intended - - on every level.)

       Hwang is not an outlier. Since United States v. Booker, 543 U.S. 220 (2005), “virtually

every judge faced with a top-level corporate fraud defendant in a very large fraud has concluded

that sentences called for by the Guidelines were too high. This near unanimity suggests that the


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judiciary sees a consistent disjunction between the sentences prescribed by the Guidelines and

the fundamental requirement of Section 3553(a) that judges impose sentences 'sufficient, but not

greater than necessary' to comply with its objectives.” Frank Bowman, “Sentencing High-Loss

Corporate Insider Frauds After Booker,” 20 Fed. Sent'g Rep. 167, 169 (Feb. 2008). The

Department of Justice has itself acknowledged that fraud loss calculations under the guidelines

have “lost the respect of a large number of judges.” Letter to Hon. William K. Sessions from

Jonathan J. Wroblewski (June 28, 2010). See, e.g., United States v. Milton, 21-cr-00478 (ER)

(S.D.N.Y.) (48 months after trial for securities fraud estimated by the government to be at least

$660.8 million); United States v. Hild, 19-cr-602 (R)(RA) (S.D.N.Y.) (44 months for fraud

causing almost $70 million on losses to lenders); United States v. Johnson, 17-cr-482 (JSR)

(S.D.N.Y.) (36 months on guilty plea for fraud of $359 million); United States v. Ebbers

["WorldCom"], 458 F.3d 110, 128 (2d Cir. 2006) (affirming sentence of 25 years for defendant

with loss figure exceeding $1 billion); Skilling v. United States, 561 U.S. 358 (2010) (lead Enron

defendant sentenced to 24 years); United States v. Kumar ["Computer Associates"], 617 F.3d

612 (2d Cir. 2010) (affirming sentence of 91 months for fraud greater than $400 million and

adjusted offense level of 51 calling for life imprisonment); United States v. Starr, No. 10-CR-

520 (S.D.N.Y. 2011) (sentencing defendant to 90 months after $33 million fraud loss); United

States v. Ferguson, 584 F. Supp. 2d 447, 456 (D. Conn. 2008) (imposing four years for $544

million fraud loss and life guidelines range); United States v. Forbes, 2007 WL 141952 (D.

Conn. 2007) (sentencing defendant under 1999 guidelines to 10 year term for fraud loss of $14

billion); United States v. Treacy, No. 08-CR-366 (S.D.N.Y. 2009) (sentencing defendant to 24

months after guidelines calculation by government calling for 24-37 years); United States v.




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Turkcan, No. 08-CR-428 (E.D. Mo. 2009) (imposing sentence of 366 days to defendant

responsible for fraud loss of $25 million).

       Application Note 21(C) to § 2B1.1, entitled “Downward Departure Consideration,”

provides, in pertinent part: “There may be cases in which the offense level determined under this

guideline substantially overstates the seriousness of the offense. In such cases, a downward

departure may be warranted.” This is such a case. For the reasons set forth below, a downward

departure is warranted.

       In fraud cases, “the amount of the loss [has] become the principal determinant of the

adjusted offense level and hence the corresponding sentencing range.” United States v.

Algahaim, 842 F.3d 796, 800 (2d Cir. 2016). “This approach, unknown to other sentencing

systems, was one the Commission was entitled to take, but its unusualness is a circumstance that

a sentencing court is entitled to consider.” Id.

       Many cases recognize that the Guidelines go too far in fraud cases: The Guidelines place

“inordinate emphasis . . . on the amount of actual or intended financial loss.” United States v.

Adelson, 441 F. Supp. 2d 506, 509 (S.D.N.Y. 2006); cf. United States v. Thompson, 19 Cr. 698

(ER) (S.D.N.Y. Feb. 4, 2021), Sentencing Tr. at 28:25-29:7 (Ramos, J.) (“perhaps the fraud

guidelines put entirely too much emphasis on the amount of the fraud, the money that’s involved

in the fraud. . . . I take the point that the amount of money does not necessarily get at the crux of

the conduct that we are trying to prevent.”); United States v. Emmenegger, 329 F. Supp. 2d 416,

427 (S.D.N.Y. 2004) (Lynch, J.) (“The guidelines place undue weight on the amount of loss

involved in the fraud.”).

       The Guidelines do not “explain[] why it is appropriate to accord such huge weight to

such factors.” Adelson, 441 F. Supp. 2d at 509. Certainly, “the Sentencing Commission’s loss-




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enhancement numbers do not result from any reasoned determination of how the punishment

best fits the crime, nor any approximation of the moral seriousness of the crime.” United States

v. Johnson, 16-CR-457-1 (NGG), 2018 WL 1997975, at *3 (E.D.N.Y. April 27, 2018). Rather,

“the numbers assigned by the Sentencing Commission to various sentencing factors appear to be

more the product of speculation, whim, or abstract number-crunching than of any rigorous

methodology—thus maximizing the risk of injustice.” Gupta, 904 F. Supp. 2d at 351; see

Johnson, 2018 WL 1997975, at *4 (noting “the rigidity of the loss amount overriding the diverse

reality of complex financial crimes [and] the lack of any consideration of danger to society[]”).

        For such reasons, one district judge summarized as follows: “The loss guideline . . . was

not developed by the Sentencing Commission using an empirical approach based on data about

past sentencing practices.” United States v. Corsey, 723 F.3d 366, 379 (2d Cir. 2013) (Underhill,

J., concurring). This failure to apply an empirical, reasonable approach yields “[t]he widespread

perception that the loss guideline is broken[,]” id. at 378, and “fundamentally flawed, especially

as loss amounts climb. The higher the loss amount, the more distorted is the guidelines advice to

sentencing judges.” Id. at 380. Therefore, “district judges can and should exercise their

discretion when deciding whether or not to follow the sentencing advice that guideline provides.”

Id. at 379.

        Specific offense characteristics yield even more overstatement. Section 2B1.1 directs a

court to add offense levels based on the amount of loss but also to add still more levels based on

factors, as here, such as the number of victims, gross receipts from a financial institution, and,

separately though related, an aggravated role based on supervision or management of the fraud.

This accumulation of offense levels “has a significant effect upon the applicable sentencing

range[,]” United States v. Lauersen, 348 F.3d 329, 344 (2d Cir. 2003), and “represents . . . the




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kind of ‘piling-on’ of points for which the guidelines have frequently been criticized.” Adelson,

441 F. Supp. 2d at 510. In short, “the guidelines’ fetish with abstract arithmetic” can result in a

“travesty of justice” and in “harm . . . visit[ed] on human beings[,] if not cabined by common

sense.” Id. at 512. See United States v. Parris, 573 F. Supp. 2d 744, 745 (E.D.N.Y. 2008)

(describing “another example where the guidelines in a securities-fraud [case] ‘have so run amok

that they are patently absurd on their face[]’”).

       Here, Mr. Watson’s adjusted level, if applied, would result in all or most of the rest of his

life in prison, an absurd result for a defendant who put his own money in the company and took

virtually nothing out. “[T]he Sentencing Guidelines for white-collar crimes” should not “be a

black stain on common sense.” Parris, 573 F. Supp. 2d at 754. “The notion that th[e]

complicated analysis, and moral responsibility,” required at sentencing, “can be reduced to the

mechanical adding-up of a small set of numbers[,] artificially assigned to a few arbitrarily

selected variables[,] wars with common sense.” Gupta, 904 F.Supp.2d at 350.




G.     The Sentencing Factors Favor a Non-Custodial or a Minimal Sentence

       We recommend that a non-custodial sentence be imposed with community service that

would enable Mr. Watson to serve the community rather than be taken from it, enable him to

continue to care for his ailing 90 year-old father and help care for his three-year old nephew, and

otherwise devote himself to his life’s work on lifting up others. Custody is not a cure-all for any

crime and certainly not here where the conduct was not motivated by greed, excess, or tangible

indulgence, but encouraging and inspiring others.

       Or as Shamir Simmons, put it: “I tell children like Carlos told me, (he quoted Gandhi)

“Be the light you wish to see in the world.”


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